     CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 1 of 6




                 UNITED STATES DISTRICT COURT
                     DISTRICT OF MINNESOTA
                   Case No. 20-cr-168 (WMW/ECW)
__________________________________________________________________

United States of America,

                     Plaintiff,

                                   MOTION FOR RECONSIDERATION
                                       OF DETENTION
v.

Montez Terriel Lee, Jr.,

                 Defendant.
__________________________________________________________________



           MOTION FOR RECONSIDERATION OF DETENTION

       Defendant, Montez Terriel Lee, Jr. by and through counsel, Andrew Garvis,

moves this court to reconsider the detention of Defendant pursuant to 18 U.S.C.

§3142(f) that there are no conditions or set of conditions that will reasonably

assure the appearance of Mr. Lee and protect the public. 18 U.S.C. §3142(f)

provides that a detention hearing “may be reopened ... at any time before trial if

the judicial officer finds that information exists that was not known to the movant

at the time of the hearing and that has a material bearing on the issue whether there

are conditions of release that will reasonably assure the appearance of such person

as required.” (1) and (2). The Courts have required that to reopen the detention

hearing two things must be shown, (1) “present information that was not known

or available to the magistrate at the time of his original detention hearing,” and

                                          1
    CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 2 of 6




then, (2), show that such information “is material to and has a substantial bearing

on whether the basis for the detention.” United States v. Archambault, 240

F.Supp.2d 1082, 1084 (D.S.D .2002); accord United States v. Havens, 487

F.Supp.2d 335, 339 (W.D.N.Y.2007); United States v. Alonso, 832 F.Supp. 503,

504-05 (D.P.R.1993).

       Limited pre-trial detention does not violate due process so long as it is

regulatory and “not penal”. United States vs. Salerno, 481 U.S. 739, 746 (1987).

In Salerno, the Supreme Court did not specify when “the point at which detention

in a particular case might become extensively prolonged, and therefore punitive, in

relation to Congress' regulatory goal.” Id. at 747, n. 4. Thus, there is a point where

the length of pre-trial confinement could become excessive, which would offend

due process. See, United States vs. Orena, 986 F.2d 626, 630 (2nd Cir. 1993).

       On June 18, 2020 an initial detention hearing was held regarding Mr. Lee.

After hearing testimony, Mr. Lee was detained [ECF 11]. New and additional

facts have come to light about Mr. Lee’s detention that require the Court to

consider reopening and/or revoking the detention determination.

       This Court is no doubt well aware of the dramatic, worldwide effects of the

COVID-19 pandemic. Chief Judge Tunheim has noted the states of emergency in

play both nationally and in the state of Minnesota due to this coronavirus outbreak.

Order, In Re: Court Operations Under the Exigent Circumstances Created by

COVID-19. Judge Tunheim issued General Order No. 5, relating to the “new

reality” as to how the Court will be trying to handle cases going forward with

                                          2
       CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 3 of 6




video and audio conferencing due to the real risks associated with the spread of

this virus. Order, In Re: Updated Guidance to Court Operations Under the

Exigent Circumstances Created by COVID-19 (D. Minn. March 30, 2020). The

information related to the COVID-19 pandemic rapidly changes—not just daily,

but hourly, and it is safe to say that all available information shows precipitous

increases in confirmed infections and deaths both globally and nationally. Since

June not only has the Pandemic continued a ‘second surge’ has now taken place

and is entering the jails.

           Federal Courts have worked under the auspicious of several Orders related

to Covid-19 pandemic. See General Orders 1 -21. Although Covid-19 was

prevalent in the country at the time Mr. Lee had his detention hearing, there was

limited information that the virus was inside the jails. On November 4, 2020 Chief

Judge John Tunheim issue General Order No. 20 related to the Covid-19

pandemic. In this order the Court postponed all criminal and civil jury trials until

December 31, 2020 due to the real concerns about the outbreak in the jails and in

the State. In Re: Updated Guidance to Court Operations caused by the exigent

circumstances created by Covid-19.

           Nationally there are roughly11 million individuals that have contracted

Covid-19 and over 237,000 that have died since March.1 In the State of Minnesota

184,000 have contracted Covid-19 and 2,675 have died.2 These numbers change


1
    https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days last visited November 10, 20202
2
    https://www.health.state.mn.us/diseases/coronavirus/situation.html last visited November 10, 2020

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     CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 4 of 6




daily. Schools are closed, businesses are closed, and Minnesota is now on its sixth

iteration of Governor Walz executive order.3 That Order continues the limitation

of large gatherings of groups and requires the closing of bars and restaurants at

certain times.

         The jails have not been immune from the outbreak as of November 8, 2020

over 2000 inmates in Minnesota prisons have tested positive and three (3)

individuals have died.4 Currently, Sherburne County is in lock down as multiple

staff and inmates have tested positive. Washington County is not immune from the

issue, as since September 2020, 903 Stillwater inmates have tested positive for the

virus, and six of them had to be hospitalized. Stillwater prison has now been

placed on lockdown.5

         In the Washington County Jail, they have limited space for those that are

positive for Covid-19, and those that are positive are being quarantined together.

Anyone leaving the building for Court is being told they will be quarantined with

these individuals, thus exposing them to others that have the virus even if they

don’t have it. There is limited social distancing and the jail remains a “closed

loop” that with the virus already inside provides no real ability to avoid it.




3
 Governor Walz Emergency order 20-97 (November 12, 2020),
https://mn.gov/governor/assets/EO%2020-97%20Final_tcm1055-453622.pdf
4
 https://mn.gov/doc/about/covid-19-updates/ last visited November 10, 2020
5
 https://minnesota.cbslocal.com/2020/11/08/protesters-rally-outside-stillwater-prison-after-fatal-covid-
outbreak-prisoners-lives-also-matter/

                                                     4
    CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 5 of 6




       Mr. Lee’s child

       On August 6, 2020 Mr. Lee’s biological child N.L. was taken from his

biological mother and placed into relative foster care. Mr. Lee was informed of

this in August and that Child Protection had initiated an action in Freeborn County

related to the out of home placement. As part of the case plan Freeborn County is

engaging in a concurrent option in case the primary biological mother is not able

to reunify with her children. Mr. Lee, who has had a strong relationship with N.L.

is the biological father and has been contacted and has been willing to engage in

the process of this concurrent plan for placement. He has met with Child

Protection several times and engaged in the process of a case plan. The plan,

however, cannot be further implement without evaluating a place to live for Mr.

Lee and his child N.L. This requires that Mr. Lee be released and allowed to be

back into the community so that the case plan be further developed.

       With the Covid-19 Pandemic continuing to grow in the jails and all Court

matters stayed for months due to it, coupled with the fact that Mr. Lee is needed

by his son detention has become so punitive that the court should consider

revocation of the detention order. There are options available for pretrial release

to protect the public and assure attendance. The court can require home detention,

reporting to pretrial and any other geographical limitations and controls.




                                          5
    CASE 0:20-cr-00168-WMW-ECW Doc. 31 Filed 11/16/20 Page 6 of 6




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